           Case: 2:22-mj-00119-EPD Doc #: 1 Filed: 02/21/22 Page: 1 of 5 PAGEID #: 1
AO 9jl(Rev. 11/11) Criminal Complaint                                                                    AUSA Martinez

                                    United States District Court
                                                               for the

                                                     Southern District of Ohio

                 United States ofAmerica
                               V.   ;
                                                                          Case No. 2l22-mj-119
                      John W. Wooden




                         Defendanlfs)

                                               CRIMINAL COMPLAINT

         I, the complainant in this case,state that the following is true to the best of my knowledge and belief.
On   )r about the date(s) of        j      February 18,2022              in the county of             Franhlin          in the

     Southern         District of:            Ohio            ,the defendant(s) violated:
            Code Section                                                    Offense Description
18 g.S.C.§§ 922(g)(1), 924(3^2)               Possession of a Firearm by a Convicted Felon




         This criminal complaint is based on these facts:
SEE ATTACHED




         fiZf Continued on the attached sheet.
                                                                                            \
                                                                              n1
                                                                                            l^mplalnant's signature
                                                                                     Thom^ Gili. Special Agent. FBI
                                                                                            Printed name and title


Sworn to before me and signed in my presence.


Date:      February 21. 2022

Cit) and state;                         Columbus, Ohio                                             reston
                                                                                    United StSraMagu^ei^^             ; \'
Case: 2:22-mj-00119-EPD Doc #: 1 Filed: 02/21/22 Page: 2 of 5 PAGEID #: 2
Case: 2:22-mj-00119-EPD Doc #: 1 Filed: 02/21/22 Page: 3 of 5 PAGEID #: 3
Case: 2:22-mj-00119-EPD Doc #: 1 Filed: 02/21/22 Page: 4 of 5 PAGEID #: 4
Case: 2:22-mj-00119-EPD Doc #: 1 Filed: 02/21/22 Page: 5 of 5 PAGEID #: 5
